








 				











COURT OF APPEALS

SECOND DISTRICT OF TEXAS

FORT WORTH 

NO. 2-04-286-CV





EMMIT BRAGER	APPELLANT





V.





R. TREON AND B.S. LOBSTEIN	APPELLEES



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FROM THE 30TH &nbsp;DISTRICT COURT OF WICHITA COUNTY



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MEMORANDUM
 
OPINION
(footnote: 1) 
AND JUDGMENT

------------

On September 21, 2004 and October 18, 2004, we notified appellant, in accordance with rule of appellate procedure 42.3(c), that we would dismiss this appeal unless the $125 filing fee was paid. 
See
 
Tex. R. App. P. 
42.3(c). &nbsp;Appellant has not paid the $125 filing fee. &nbsp;
See
 
Tex. R. App. P.
 5, 12.1(b).

Because appellant has failed to comply with a requirement of the rules of appellate procedure and the Texas Supreme Court's order of July 21, 1998,
(footnote: 2) we dismiss the appeal. &nbsp;
See 
Tex. R. App. P
. 42.3(c), 43.2(f).

Appellant shall pay all costs of this appeal, for which let execution issue. &nbsp;
See
 
Tex. R. App. P
. 42.1(d).

PER CURIAM





PANEL D: CAYCE, C.J.; LIVINGSTON and DAUPHINOT, JJ.	



DELIVERED: November 12, 2004



FOOTNOTES
1:See 
Tex. R. App. P. 47.4.


2:July 21, 1998 “Order Regarding Fees Charged in Civil Cases in the Supreme Court and the Courts of Appeals,” 
971-972 S.W.2d (Tex. Cases) XXXVIII (1998).




